                          Case 1-18-45304               Doc 1        Filed 09/17/18           Entered 09/17/18 14:33:59



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                NORTH ENERGY POWER LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1425 37th Street
                                  Suite 612
                                  Brooklyn, NY 11218
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    NORTH ENERGY POWER LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2211

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known




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Debtor   NORTH ENERGY POWER LLC                                                                  Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    NORTH ENERGY POWER LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on      September 17, 2018
                                                   MM / DD / YYYY


                              X   /s/ Robert Rimberg                                                       Robert Rimberg
                                  Signature of authorized representative of debtor                         Printed name

                                  Title   Manager




18. Signature of attorney     X   /s/ A. MITCHELL GREENE                                                    Date September 17, 2018
                                  Signature of attorney for debtor                                               MM / DD / YYYY

                                  A. MITCHELL GREENE
                                  Printed name

                                  ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK P.C.
                                  Firm name

                                  875 THIRD AVENUE
                                  New York, NY 10022
                                  Number, Street, City, State & ZIP Code


                                  Contact phone     (212) 603-6300                Email address


                                  NY
                                  Bar number and State




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                                North Energy Power LLC
Commissions                    $                           65,000.00
Sales Tax                      $                           55,000.00
Rent                           $                             5,500.00
Payroll                        $                           55,000.00
NYISO Weekly Invoice           $                        804,052.41
Installed Capacity             $                        532,311.00
Management Fee                 $                             5,000.00
Enersoft Billing Software      $                             8,500.00
Insurance                      $                             2,500.00
Enhanced Energy Services       $                             8,500.00
                               $                     1,541,363.41


Projected Revenue              $                     1,668,832.00




                              30 Days
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                                                               United States Bankruptcy Court
                                                                     Eastern District of New York
 In re      NORTH ENERGY POWER LLC                                                                       Case No.
                                                                                   Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       September 17, 2018                                         /s/ Robert Rimberg
                                                                        Robert Rimberg/Manager
                                                                        Signer/Title

 Date: September 17, 2018                                               /s/ A. MITCHELL GREENE
                                                                        Signature of Attorney
                                                                        A. MITCHELL GREENE
                                                                        ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK
                                                                        P.C.
                                                                        875 THIRD AVENUE
                                                                        New York, NY 10022
                                                                        (212) 603-6300




USBC-44                                                                                                                      Rev. 9/17/98


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                 Abe Leser
                 1481 47th Street
                 Brooklyn, NY 11219


                 Advanced Energy
                 1316 65th Street
                 Brooklyn, NY 11219


                 AG Gas & Power
                 33 Satmar Drive #202
                 Monroe, NY 10950


                 All Care Energy
                 21 Robert Pitt Drive
                 Apt. 308
                 Monsey, NY 10952


                 Binyan Specialists Inc.
                 199 Lee Ave. Suite 232
                 Brooklyn, NY 11211


                 Brite Star Energy
                 143 Brick Church Road
                 Spring Valley, NY 10977


                 Chaya Dembitzer
                 1749 45th Street
                 Brooklyn, NY 11204


                 Choice Energy Services
                 5151 Sam Felipe
                 Suite 2200
                 Houston, TX 77056


                 Clear Choice Energy LLC
                 100 Crossways Park Dr W
                 Suite 405
                 Woodbury, NY 11797


                 CORP. COUNSEL FOR NYC
                 100 CHURCH STREET
                 New York, NY 10007
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             David R. Behanna, CPA -
             DRB Consulting Inc.
             36 Mount Grey Road
             East Setauket, NY 11733


             Energy 942
             942 East 5th Street
             Brooklyn, NY 11230


             Energy Best Deals Inc.
             282 Skillman Street #4
             Brooklyn, NY 11205


             Energy For Less Inc.
             142 Park Lane
             Monsey, NY 10952


             Energy Office Inc.
             10 Lemberg Court #202
             Monroe, NY 10950


             Energy Portfolio Associat
             417 Center Avenue
             Mamaroneck, NY 10543


             ESCO NY LLC
             199 Lee Ave. Suite 804
             Brooklyn, NY 11211


             Feller Law Group, PLLC
             159 20th Street, Suite 1B
             Brooklyn, NY 11232


             Herschel Friedman CPA
             5421 New Utrecht Ave.
             Brooklyn, NY 11219


             Hindy Gruber
             1130 55th Street
             Brooklyn, NY 11219


             Hodgson Russ LLP
             605 Third Ave. Suite 2300
             New York, NY 10158
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             INTERNAL REVENUE SERVICE
             PO BOX 7346
             Philadelphia, PA 19101-7346


             Isaac Rosenfeld
             219 Havemeyer Street
             Brooklyn, NY 11211


             Israel Schwartz
             142 Rodney Street
             Brooklyn, NY 11211


             J Synergy LLC
             445 Central Avenue
             Suite 204
             Cedarhurst, NY 11516


             Jacob Bayer
             66 Herrick Avenue
             Spring Valley, NY 10977


             Jacob Gratt
             12 Lemberg Court
             Unit 306
             Monroe, NY 10950


             Joseph Flohr
             16-B Nitra Road
             Mount Kisco, NY 10549


             Joseph Rosenberg
             1269 42nd Street
             Brooklyn, NY 11219


             Keren Teferes Yeshiya
             1164 46th Street
             Brooklyn, NY 11219


             Lish Realty
             5103 20th Avenue
             Brooklyn, NY 11204


             M&G Housing
             26 Rutledge Street
             Brooklyn, NY 11249
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             Management Service
             Partners LLC
             11 Kings Place, Apt 4E
             Brooklyn, NY 11223


             Mandelbaum Salsburg
             3 Becker Farm Road
             Roseland, NJ 07068


             Max Energy Group Inc.
             Mr. Martin Gruber
             58 Nicole Avenue
             Spring Valley, NY 10977


             Metro Refunds
             505 Chestnut Street
             Cedarhurst, NY 11516


             Mr. Framawitz
             1727 57th Street
             Brooklyn, NY 11204


             Mr. Moses Neiman
             152 Hewes Street
             Brooklyn, NY 11211


             Mr. Shmiel Weiss
             16 Butterman Place #103
             Monsey, NY 10952


             National Refunds
             300 Merrick Road
             Suite 208
             Lynbrook, NY 11563


             NECS
             1274 49th Street
             Suite 194
             Brooklyn, NY 11219


             NY STATE DEPT. OF FINANCE
             ATTN: BANKRUPTCY SPECIAL
             PO BOX 5300
             Albany, NY 12205
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             NYC DEPT. OF FINANCE
             345 ADAMS STREET, 3RD FL.
             ATTN: LEGAL AFFAIRS
             Brooklyn, NY 11201


             NYS Dept Taxation and
             Finance
             Building 9
             W.A. Harriman Campus
             Albany, NY 12227


             NYSERDA
             17 Columbia Circle
             Albany, NY 12203


             OFFICE OF THE NY AG
             28 LIBERTY STREET
             New York, NY 10005


             Paul Block
             DBA/ Block Energy
             174 Big Island Road
             Warwick, NY 10990


             Phillips Lytle LLP
             1400 First Federal Plaza
             Rochester, NY 14614


             Phoenix Energy Solutions
             24 Sound View Drive
             Greenwich, CT 06830


             Pinchas Rubinfeld
             4504 17th Avenue
             Brooklyn, NY 11204


             Sam   Bodenheim
             121   Bennet Avenue
             Apt   61A
             New   York, NY 10033


             Save Smart Energy Inc.
             17 Main Street
             Suite #209
             Monsey, NY 10952
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             Superlink Energy
             Resources Inc.
             51 Forest Road
             Unit 316-4
             Monroe, NY 10950


             T.R. Group
             199 Lee Avenue
             Suite 317
             Brooklyn, NY 11211


             The OE Group
             5314 16th Avenue
             Suite 187
             Brooklyn, NY 11204


             US ATTY OFFICE - EDNY
             BANKRUPTCY PROCESSING
             271-A CADMAN PLAZA EAST
             ATTN: ARTEMIS LEKAKIS
             Brooklyn, NY 11201


             Utility Management
             Consultants Inc.
             2376 60th Street
             Brooklyn, NY 11204


             We Cann
             P.O. Box 85
             Darien, CT 06820


             Xtreme Energy
             199 Lee Avenue
             Suite 1005
             Brooklyn, NY 11211


             Yechiel Pollack
             153 Lee Avenue
             Brooklyn, NY 11211


             Yisroel Neustein
             33 Throop Avenue
             Apt. 4L
             Brooklyn, NY 11206
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             Zip Talk Inc.
             141 Penn Street
             Brooklyn, NY 11211
